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                       IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS                           MAR
UNITED STATES OF AMERICA

v.                                                 NO. 4:11CR00022 JM

MCKLEEN DEVON ALLEN

                                   MOTION TO DISMISS

       Pursuant to Rule 48(a) ofthe Federal Rules of Criminal Procedure and by leave of Court

endorsed hereon, the United States of America, by and through United States Attorney

Christopher R. Thyer and Assistant United States Attorney Edward 0. Walker requests that, in

the interest of justice, the Indictment against Defendant McKleen Devon Allen be dismissed

without prejudice.

                                                   Respectfully submitted,

                                                   CHRISTOPHER R. THYER
                                                   u
                                                 11
                                                  ByEDWA
                                                  Assistant U.S. Attorney
                                                  Bar No. 2000076
                                                  P. 0. Box 1229
                                                  Little Rock, Arkansas 72203
                                                  501-340-2600



SO ORDERED this .1/l~ay of March, 2014.
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                                  CERTIFICATE OF SERVICE

       I hereby certify that the foregoing has been file
mailed to defense counsel of record.
